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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                  8:13CR106
                       Plaintiff,              )
                                               )
         vs.                                   )                  ORDER
                                               )
RUSSELL GLENN PIERCE,                          )
                                               )
                       Defendant.              )
         This matter is before the court on the motion to continue by defendant Russell Glenn
Pierce (Pierce) (Filing No. 262). Pierce seeks a continuance of the trial of this matter which
is scheduled for December 15, 2014. Pierce’s counsel represents that government’s
counsel has no objection to the motion. Upon consideration, the motion will be granted.


         IT IS ORDERED:
         1.     Pierce's motion to continue trial (Filing No. 262) is granted.
         2.     Trial of this matter is re-scheduled for February 2, 2015, before Senior Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
November 21, 2014, and February 2, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendant’s counsel requires additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         DATED this 21st day of November, 2014.
                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken

                                                   United States Magistrate Judge
